Case 1:23-cv-00108-LMB-JFA Document 1148 Filed 08/09/24 Page 1 of 7 PageID# 83960




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

      UNITED STATES, et al.,

                          Plaintiffs,

           vs.                                                 No: 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                          Defendant.


                           DEFENDANT GOOGLE LLC’S RESPONSE
                             TO PLAINTIFFS’ MOTION TO SEAL

          Pursuant to Local Civil Rule 5(C), Defendant Google LLC (“Google”) submits this

  response to Plaintiffs’ Motion to Seal portions of Plaintiffs’ memorandum of law in support of

  Plaintiffs’ motion for an adverse inference, and to seal portions or all of exhibits 3-11, 15-16, and

  18-37 attached to the memorandum. Dkt. No. 1121.1 Google respectfully requests that the Court

  continue to seal exhibit 15 and portions of exhibits 27 and 29 to Plaintiffs’ Memorandum of Law

  in Support of Plaintiffs’ Motion for an Adverse Inference.

                                        LEGAL STANDARD

          “When presented with a request to seal judicial records or documents, a district court must

  comply with certain substantive and procedural requirements.”2 Va. Dep’t of State Police v. Wash.




  1
    The Court previously granted Plaintiffs’ motion to seal, finding that “Google should have time
  to address the permanent sealing of” the exhibits. Dkt. No. 1134. In accordance with Local Civil
  Rule 5(C), and the Court’s order, Google files this response to request continued sealing of certain
  exhibits.
  2
   With respect to quoted material, unless otherwise indicated, all brackets, ellipses, footnote call
  numbers, internal quotations, and citations have been omitted for readability. All emphasis is
  added unless otherwise indicated.
                                                   1
Case 1:23-cv-00108-LMB-JFA Document 1148 Filed 08/09/24 Page 2 of 7 PageID# 83961




  Post, 386 F.3d 567, 576 (4th Cir. 2004). Substantively, the Court “must determine the source of

  the right of access with respect to each document.” Stone v. Univ. of Md. Med. Sys. Corp., 855

  F.2d 178, 180-81 (4th Cir. 1988). “The right of public access to documents or materials filed in a

  district court derives from two independent sources: the common law and the First Amendment.”

  Va. Dep’t of State Police, 386 F.3d at 575. “While the common law presumption in favor of access

  attaches to all judicial records and documents, the First Amendment guarantee of access has been

  extended only to particular judicial records and documents.” Stone, 855 F.2d at 180. Even so,

  public access to civil trial records “is not absolute,” and restrictions can be justified by concerns

  that such records “might . . . become a vehicle for improper purposes,” such as where the records

  serve “as sources of business information that might harm a litigant’s competitive standing.”

  Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978). In particular, a corporation’s “strong

  interest in preserving the confidentiality of its proprietary and trade-secret information . . . may

  justify partial sealing of court records.” Doe v. Pub. Citizen, 749 F.3d 246, 269 (4th Cir. 2014).

         Procedurally, before allowing documents to be filed under seal, the Court must “(1) provide

  public notice of the request to seal and allow interested parties a reasonable opportunity to object,

  (2) consider less drastic alternatives to sealing the documents, and (3) provide specific reasons and

  factual findings supporting its decision to seal the documents and for rejecting the alternatives.”

  Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000).

                                            ARGUMENT

         Google seeks to keep a narrow set of its confidential commercially sensitive information

  under seal. Google requests that this information remain under seal because Google would likely

  suffer substantial economic harm by its disclosure, outweighing the public’s right of access.




                                                   2
Case 1:23-cv-00108-LMB-JFA Document 1148 Filed 08/09/24 Page 3 of 7 PageID# 83962




    I.    THE PROCEDURAL REQUIREMENTS FOR SEALING HAVE BEEN MET.

          Before sealing a court record, a court must provide public notice, consider less drastic

  alternatives to sealing the documents, and provide specific reasons and findings supporting the

  decision to seal. Ashcraft, 218 F.3d at 302. Each of those procedural requirements have been met

  here.

          First, there has been public notice. The Court must provide notice of a request for sealing

  in the court record and provide interested persons with “an opportunity to object.” In re Knight

  Publ’g Co., 743 F.2d 231, 234 (4th Cir. 1984). Individual notice is not required, and the Court may

  give adequate notice either by “notifying the persons present in the courtroom of the request to

  seal” at the time of the hearing or by “docketing [the sealing request] reasonably in advance of

  deciding the issue.” Id. at 235. In accordance with the procedures in Local Civil Rule 5(C),

  Plaintiffs’ sealing motion has been publicly docketed in advance of any ruling on sealing (Dkt.

  No. 1121), accompanied by a notice that any party or non-party could object (Dkt. No. 1123),

  thereby satisfying the first procedural requirement.

          Second, Google limits its sealing request to highly confidential material referenced in

  Plaintiffs’ exhibits. In deciding whether to grant a sealing request, the Court must consider using

  redactions or limited sealing (either in scope or duration) in lieu of permanent, blanket sealing.

  The proposed redactions will still provide the public access to the exhibits, while protecting

  Google’s trade secrets and commercially sensitive business information. See Philpot v. Indep. J.

  Rev., 2021 WL 5071504, at *1 (E.D. Va. Apr. 7, 2021) (granting motion to seal redacted

  documents filed in connection with summary judgment briefing as “this selective protection of

  information constitutes the least drastic measure of sealing confidential material”); United States

  ex rel. Carter v. Halliburton Co., 2011 WL 8204612, *3 (E.D. Va. Nov. 29, 2011) (limited



                                                   3
Case 1:23-cv-00108-LMB-JFA Document 1148 Filed 08/09/24 Page 4 of 7 PageID# 83963




  redaction approved as opposed to “sealing the brief in toto”). In one instance, Google has requested

  sealing the exhibits in their entirety where redactions could not adequately balance Google’s

  commercially sensitive business information with the public’s right of access. E.W., LLC v.

  Rahman, 2012 WL 3841401, at *3 (E.D. Va. Sept. 4, 2012) (granting motion to place exhibits

  completely under seal where they “focused almost entirely on this highly sensitive business

  information”). Accordingly, Google has proposed the least drastic method to protect its highly

  sensitive confidential information and the public’s right of access.

         Third, as detailed in Section II, Google has provided the specific reasons supporting its

  sealing request. In accordance with Local Civil Rule 5(C), Google has provided a proposed order

  containing the required findings.

   II.   GOOGLE REQUESTS LIMITED SEALING OF                                 PROPRIETARY           AND
         COMMERCIALLY SENSITIVE INFORMATION.

         Google seeks only to seal certain confidential business information filed in connection with

  Plaintiffs’ motion for adverse inference. Where the more stringent First Amendment presumption

  applies, courts recognize that “private interests might also implicate higher values sufficient to

  override (or, in an alternative mode of analysis, to except the proceeding or materials at issue from)

  the First Amendment presumption of public access.” Level 3 Commc’ns, LLC v. Limelight

  Networks, Inc., 611 F. Supp. 2d 572, 580 (E.D. Va. 2009). As the Fourth Circuit has recognized,

  a “corporation may possess a strong interest in preserving the confidentiality of its proprietary and

  trade-secret information, which in turn may justify partial sealing of court records.” Doe, 749 F.3d

  at 269; see also Pittston Co. v. United States, 368 F.3d 385, 406 (4th Cir. 2004) (district court did

  not abuse its discretion in refusing to unseal documents containing confidential and proprietary

  business information filed in connection with summary judgment motion); Benedict v. Hankook




                                                    4
Case 1:23-cv-00108-LMB-JFA Document 1148 Filed 08/09/24 Page 5 of 7 PageID# 83964




  Tire Co. Ltd., 323 F. Supp. 3d 747, 766 (E.D. Va. 2018) (businesses may have a “compelling

  interest under the First Amendment test” in “protecting proprietary commercial information”).

         A “trade secret” may be any information, used for a business purpose, which gives the user

  an advantage over competitors who do not know it; therefore, the touchstone of a trade secret is

  secrecy. See Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 474-78 (1974). The value of a

  “trade secret” may be lost if it is published. Ruckelshaus v. Monstanto Co., 467 U.S. 986, 1002

  (1984) (property right in trade secret “is extinguished” by public disclosure). This includes

  through public disclosure in the court record. See Religious Tech. Ctr. v. Lerma, 908 F. Supp.

  1362, 1368-69 (E.D. Va. 1995) (trade secret status lost after having been in judicial file for 28

  months and posted on the internet).

         Here, Google seeks limited sealing to protect its highly sensitive proprietary information.

  Specifically, Google requests limited redactions to protect sensitive customer and revenue

  information, forward-looking commercial strategy discussions, and pricing information. Courts in

  the Fourth Circuit have repeatedly recognized that these categories of information are protected

  from public disclosure. See, e.g., Intelligent Verification Sys., LLC v. Microsoft Corp., 2014 WL

  12659953, at *1 (E.D. Va. Dec. 22, 2014) (sealing “sensitive business information”); see also HiQ

  Materials AG v. ICP Indus., Inc., 2023 WL 4842783, at *2 (M.D.N.C. June 28, 2023) (sealing

  “proprietary business and customer information and trade secrets in the form of financial analyses,

  market research, pricing formulas, and highly sensitive customer needs and preferences”); Jones

  v. Lowe’s Cos, Inc., 402 F. Supp. 3d 266, 294 (W.D.N.C. 2019) (sealing “forward-looking

  marketing strategy, strategic responses to changes in the retail industry”); 360 Mortg. Grp., LLC

  v. Stonegate Mortg. Corp., 2016 WL 4939308, at *1-2 (E.D.N.C. Sept. 14, 2016) (“business

  techniques, the identification of . . . customers, and . . . finances” are “the type of confidential



                                                   5
Case 1:23-cv-00108-LMB-JFA Document 1148 Filed 08/09/24 Page 6 of 7 PageID# 83965




  business information properly subject to protection”); SMD Software, Inc. v. EMove, Inc., 2013

  WL 1091054, at *2-*3 (E.D.N.C. Mar. 15, 2013) (profit and loss statements, pricing, marketing

  strategies, expense information, market share, and customer information).

         Specifically, in accordance with Local Civil Rule 5(C), Google provides a non-confidential

  description of the material it is requesting remain under seal:

             ● Ex. 15: Contains detailed confidential, non-public information regarding Google’s
               internal operations and organizational structure.
             ● Ex. 27: As reflected in the proposed redacted version herewith, Google requests
               limited redactions pertaining to customer agreements and associated revenue as
               well as recent commercial strategy discussions.
             ● Ex. 29: As reflected in the proposed redacted version herewith, Google requests
               limited redactions pertaining to certain pricing information.
  Google’s sealing requests and proposed redactions are limited to its proprietary and confidential

  business information.

         In light of the presumption of the public’s right of access under the First Amendment,

  Google has determined not to seek continued sealing of Plaintiffs’ memorandum or the other

  exhibits attached thereto.

                                           CONCLUSION

         For the foregoing reasons, Google requests that the Court grant Google’s narrow sealing

  requests to protect its confidential and proprietary information.




                                                   6
Case 1:23-cv-00108-LMB-JFA Document 1148 Filed 08/09/24 Page 7 of 7 PageID# 83966




   Dated: August 9, 2024                Respectfully submitted,

   Eric Mahr (pro hac vice)             /s/ Craig C. Reilly
   Andrew Ewalt (pro hac vice)          Craig C. Reilly (VSB # 20942)
   Tyler Garrett (VSB # 94759)          THE LAW OFFICE OF
   FRESHFIELDS BRUCKHAUS                 CRAIG C. REILLY, ESQ.
   DERINGER US LLP                      209 Madison Street, Suite 501
   700 13th Street, NW, 10th Floor      Alexandria, VA 22314
   Washington, DC 20005                 Telephone: (703) 549-5354
   Telephone: (202) 777-4500            Facsimile: (703) 549-5355
   Facsimile: (202) 777-4555            craig.reilly@ccreillylaw.com
   eric.mahr@freshfields.com
                                        Karen L. Dunn (pro hac vice)
   Justina K. Sessions (pro hac vice)   Jeannie S. Rhee (pro hac vice)
   FRESHFIELDS BRUCKHAUS                William A. Isaacson (pro hac vice)
   DERINGER US LLP                      Amy J. Mauser (pro hac vice)
   855 Main Street                      Martha L. Goodman (pro hac vice)
   Redwood City, CA 94063               Bryon P. Becker (VSB #93384)
   Telephone: (650) 618-9250            Erica Spevack (pro hac vice)
   Fax: (650) 461-8276                  PAUL, WEISS, RIFKIND, WHARTON &
   justina.sessions@freshfields.com     GARRISON LLP
                                        2001 K Street, NW
   Daniel Bitton (pro hac vice)         Washington, DC 20006-1047
   AXINN, VELTROP & HARKRIDER           Telephone: (202) 223-7300
   LLP                                  Facsimile (202) 223-7420
   55 2nd Street                        kdunn@paulweiss.com
   San Francisco, CA 94105
   Telephone: (415) 490-2000            Erin J. Morgan (pro hac vice)
   Facsimile: (415) 490-2001            PAUL, WEISS, RIFKIND, WHARTON &
   dbitton@axinn.com                    GARRISON LLP
                                        1285 Avenue of the Americas
   Bradley Justus (VSB # 80533)         New York, NY 10019-6064
   AXINN, VELTROP & HARKRIDER           Telephone: (212) 373-3387
   LLP                                  Facsimile: (212) 492-0387
   1901 L Street, NW                    ejmorgan@paulweiss.com
   Washington, DC 20036
   Telephone: (202) 912-4700            Counsel for Defendant Google LLC
   Facsimile: (202) 912-4701
   bjustus@axinn.com




                                        7
